Case 2:21-cv-10163-GAD-APP ECF No. 28-1, PageID.1085 Filed 02/19/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

 AXLE OF DEARBORN, INC., d/b/a
 DETROIT AXLE, a Michigan corporation;
 DETROIT AXLE, INC., a Michigan corporation;
 and DETROIT AXLE QSSS, INC., a Michigan
 corporation,
                                                Case No. 21-cv-10163
       Plaintiffs,                              Hon. Stephanie Dawkins Davis
                                                Magistrate Anthony P. Patti
 v.

 DETROIT IT, LLC, and ERIC
 GRUNDLEHNER.,

       Defendants,

 and

 DETROIT IT, LLC,

       Counterclaim Plaintiff,

 v.

 AXLE OF DEARBORN, INC., d/b/a
 DETROIT AXLE, a Michigan corporation;
 DETROIT AXLE, INC., a Michigan corporation;
 and DETROIT AXLE QSSS, INC., a Michigan
 corporation,

       Counterclaim Defendants.

                          INDEX OF EXHIBITS
                     DETROIT IT, LLC’S COUNTERCLAIM

 Exhibit 1:   Price Quote 21372

 Exhibit 2:   Terms and Conditions
Case 2:21-cv-10163-GAD-APP ECF No. 28-1, PageID.1086 Filed 02/19/21 Page 2 of 2




 Exhibit 3:   Price Quote 21390

 Exhibit 4:   Price Quote 21392

 Exhibit 5:   Price Quote 21434

 Exhibit 6:   Price Quote 21437

 Exhibit 7:   Price Quote 21450

 Exhibit 8:   Price Quote 21460

 Exhibit 9:   Price Quote 21465

 Exhibit 10: Price Quote 21467

 Exhibit 11: Price Quote 21462

 Exhibit 12: Price Quote 21445

 Exhibit 13: Price Quote 21565

 Exhibit 14: Price Quote 21594

 Exhibit 15: Emails of December 9-13, 2020

 Exhibit 16: Emails December 16-17, 2020

 Exhibit 17: Help Tickets

 Exhibit 18: Unpaid Charges

 Exhibit 19: Emails RE: Unpaid Invoices

 Exhibit 20: Equipment List

 Exhibit 21: Equipment Owned by Detroit IT, LLC
